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P R O B 35A     ORDER TERMINATING TERM OF SUPERVISED RELEASE
                  PRIOR TO EXPIRATION DATE - NOTICE OF DEATH


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 1:05CR00148-002 OWW
                                             )
RICARDO OSORIO                               )
                                             )


On August 14, 2006, the above-named was ordered to serve 70 months in the custody of the
Bureau of Prisons and, upon release, he was to serve 5 years (60 months) Supervised
Release.

On February 16, 2010, this office was notified by Michael Miller, Acting Warden at Corrections
Corporation of America (Bureau of Prisons contract facility) that Ricardo Osorio was
confirmed dead by Evonne D. Reed, the Deputy Coroner of Los Angeles County on February
6, 2010. A copy of the notification is on file. It is accordingly recommended this case be
closed.

                                     Respectfully submitted,

                                      /s/ Rick C. Louviere

                                    RICK C. LOUVIERE
                        Supervising United States Probation Officer

Dated:          March 4, 2010
                Fresno, California
                RCL

REVIEWED BY:           /s/ James E. Herbert
                      JAMES E. HERBERT
                      Assistant Deputy Chief United States Probation Officer


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                                                                                             Rev. 05/2007
                                                        EARLY TERMINATION ~ ORDER (DEATH) (PROB35A).MRG
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  Re:    RICARDO OSORIO
         Docket Number: 1:05CR00148-002 OWW
         ORDER TERMINATING TERM OF SUPERVISED RELEASE
         PRIOR TO EXPIRATION DATE - NOTICE OF DEATH


                                  ORDER OF COURT

It appearing that Ricardo Osorio is deceased, it is hereby ordered the proceedings in this
case be terminated and the case closed.

IT IS SO ORDERED.

Dated: March 5, 2010                        /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




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                                                    EARLY TERMINATION ~ ORDER (DEATH) (PROB35A).MRG
